     TIMOTHY S. LAFFREDI (WI SBN 1055133)
 1   Assistant United States Trustee
     MARTA E. VILLACORTA (NY SBN 4918280)
 2   Trial Attorney
     United States Department of Justice
 3   Office of the U.S. Trustee
     450 Golden Gate Avenue, Suite 05-0153
 4   San Francisco, CA 94102
     Telephone: (415) 252-2062
 5   Facsimile: (415) 705-3379
     Email: marta.villacorta@usdoj.gov
 6
     Attorneys for TRACY HOPE DAVIS
     United States Trustee for Region 17
 7
                              UNITED STATES BANKRUPTCY COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
                                       SAN JOSE DIVISION
 9
           In re:
10                                                             Case No. 19-51455 MEH
           HOME LOAN CENTER, INC.,
11                                                             Chapter 11
12                                                             Date: August 22, 2019
                                                               Time: 1:30 pm
13                                Debtor.                      Place: Office of the U. S. Trustee
                                                                      280 S First Street, Room 130
14                                                                    San Jose, CA 95113

15                  NOTICE OF RESCHEDULED § 341 MEETING OF CREDITORS
16          PLEASE TAKE NOTICE that the initial § 341 meeting of creditors for the above-
17
     captioned case, originally scheduled for August 20, 2019 at 11:30 a.m. has been rescheduled and
18
     will be held on August 22, 2019 at 1:30 p.m., at the Office of the United States Trustee, 280 S
19
     First Street, Room 130, San Jose, CA 95113. Debtor’s counsel has agreed to serve this notice on
20

21   all creditors and will promptly file a certificate evidencing such service.

22          All other dates and deadlines found in the Notice of Chapter 11 Bankruptcy Case,

23   Meeting of Creditors, and Deadlines filed as ECF No. 5 remain unchanged.
24

25   Dated: July 25, 2019                          TRACY HOPE DAVIS
                                                   United States Trustee, Region 17
26
                                                   /s/ Marta E. Villacorta
27                                                 Marta E. Villacorta
                                                   Trial Attorney
28   Notice of Rescheduled 341 meeting

     Case: 19-51455       Doc# 25     Filed: 07/25/19      Entered: 07/25/19 13:39:49     Page 1 of 1
